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9                                  UNITED STATES DISTRICT COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
11                                      SAN FRANCISCO DIVISION
12
      VOIP-PAL.COM, INC.,
13                                                    Case No. 3:22-CV-03199-JD

14           Plaintiff,

15           v.                                       JOINT STIPULATION OF DISMISSAL

16
      GOOGLE LLC,
17
             Defendant.
18
                                                      Case No. 3:22-cv-05419-JD
19    VOIP-PAL.COM, INC.,
20           Plaintiff,
21
             v.
22
      GOOGLE LLC,
23

24           Defendant.

25
            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, VoIP-Pal.com, Inc., and
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27   Defendant, Google LLC, hereby stipulate to the dismissal of the action. All claims of infringement

28   that Plaintiff raised or could have raised in this action are dismissed WITH PREJUDICE. All claims,

     JOINT STIPULATION OF DISMISSAL
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1    defenses, or counterclaims that Defendant raised are dismissed WITHOUT PREJUDICE and all

2    pending requested relief should be denied as moot. Each party will bear its own costs and attorneys’
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     fees.
4
             IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
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1    Dated: June 6, 2023

2    Respectfully submitted,
3

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            Case 3:22-cv-05419-JD Document 139 Filed 06/07/23 Page 4 of 4




1
                                           [PROPOSED] ORDER
2

3           PURSUANT TO STIPULATION of the parties, IT IS HEREBY ORDERED that all claims
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     of infringement that Plaintiff raised or could have raised in this action are dismissed with prejudice;
5
            IT IS FURTHER ORDERED that all claims, defenses, or counterclaims that Defendant raised
6
     are dismissed without prejudice;
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8           IT IS FURTHER ORDERED that all pending requested relief is denied as moot; and

9           IT IS FURTHER ORDERED that each party will bear its own costs and attorneys’ fees.
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            IT IS SO ORDERED.
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12   Dated: June 7, 2023
                                                   James Donato
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                                                   United States District Judge
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     JOINT STIPULATION OF DISMISSAL
     3:22-cv-3199-JD; 3:22-cv-5419-JD
